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 5
     ATTORNEY FOR Defendant,
 6
     MARK BAGDASARIAN
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 8
                                  UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ******

11   UNITED STATES OF AMERICA,                          Case No.: 1:11-CR-00352-LJO-SKO

12                  Plaintiff,                          STIPULATION TO VACATE
                                                        EVIDENTIARY HEARING AND ORDER
13          v.

14                                                      Date: April 24, 2017
     MARK BAGDASARIAN AND RYAN                          Time: 1:30 p.m.
     BAGDASARIAN,                                       Courtroom: 4
15
                                                        Hon. Lawrence J. O’Neill
                    Defendants.
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18          IT IS HEREBY STIPULATED by and between the parties hereto through their

19   respective counsel, Kevin P. Rooney, Anthony P. Capozzi, and Charles J. Lee, hereby

20   stipulate as follows:

21          1.      By previous motion, this matter was set for an Evidentiary Hearing on April 24,

22   2017, at 1:30 p.m.

23          2.      By this stipulation, Defendants now move to vacate the Evidentiary Hearing and

24   set this for a Change of Plea hearing on June 5, 2017, at 8:30 a.m.

25          3.      The parties agree and stipulate, and request that the Court find the following:

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                             STIPULATION AND ORDER TO VACATE EVIDENTIARY HEARING
                                        CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 109 Filed 04/20/17 Page 2 of 3
 1                   a.      Negotiations are ongoing and the parties believe a resolution is close.

 2            Counsels’ schedules do not allow for a Monday court appearance earlier than the

 3            proposed June 5, 2017, date.

 4                   b.      Based on the above-stated findings, the ends of justice served by

 5            continuing the case as requested outweigh the interest of the public and the defendants

 6            in a trial within the original date prescribed by the Speedy Trial Act.

 7                   c.      For the purpose of computing time under the Speedy Trial Act, 18

 8            U.S.C. § 3161, et seq., within which trial must commence, the time period of April 24,

 9            2017, to June 5, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§

10            3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court at

11            defendant’s request on the basis of the Court's finding that the ends of justice outweigh

12            the best interest of the public and the defendant in a speedy trial.

13            4.     Nothing in this stipulation and order shall preclude a finding that other

14   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

15   period within which a trial must commence.

16            IT IS SO STIPULATED:
                                                 Respectfully submitted,
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     Dated:        April 20, 2017          By: /s/Kevin P. Rooney
18
                                               KEVIN P. ROONEY
19                                             Assistant United States Attorney

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21
     Dated:        April 20, 2017          By: /s/Anthony P. Capozzi
22                                             ANTHONY P. CAPOZZI
23                                             Attorney for MARK BAGDASARIAN

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     Dated:        April 20, 2017          By: /s/Charles Lee
26                                             CHARLES LEE
                                               Attorney for RYAN BAGDASARIAN
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                             STIPULATION AND ORDER TO VACATE EVIDENTIARY HEARING
                                        CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 109 Filed 04/20/17 Page 3 of 3
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 4                                                ORDER

 5          Good cause having been shown, the Evidentiary Hearing set for April 24, 2017, is

 6   hereby vacated and a Change of Plea hearing is set for June 5, 2017, at 8:30 a.m.

 7   Additionally, time shall be excluded by stipulation from the parties and pursuant to 18 U.S.C. §

 8   3161(h)(7)(A), B(iv).

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10   IT IS SO ORDERED.

11      Dated:     April 20, 2017                           /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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                             STIPULATION AND ORDER TO VACATE EVIDENTIARY HEARING
                                        CASE NO.: 1:11-CR-00352-LJO-SKO
